        Case 2:12-cr-00207-TLN Document 52 Filed 10/16/12 Page 1 of 2


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 5
     Attorney for Defendant:
 6   ULYSSES SIMPSON GRANT EARLY

 7

 8                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                          CASE NO.: 2:12-CR-0207 – LKK

11                             Plaintiff,                WAIVER OF DEFENDANT ULYSSES
                                                         SIMPSON GRANT EARLY, IV,
12                           v.                          APPEARANCE AND ORDER

13
      RYAN McGOWAN, ROBERT
14    SNELLING, ULYSSES SIMPSON
      GRANT EARLY IV, and THOMAS LU,
15
                               Defendants.
16

17
             Defendant, Ulysses Simpson Grant Early, IV, hereby waives his right to be personally
18
     present in open court for the hearing of any status conference, motion or other proceeding in this
19
     case, except that he will agree to be personally present for any plea, sentencing or jury trial, and
20
     he agrees to be personally present in court when so ordered.
21
             Defendant, Ulysses Simpson Grant Early, IV, hereby requests the court to proceed in his
22
     absence. Defendant agrees that his interests will be deemed represented at all times by the
23
     presence of his undersigned attorney, the same as if he were personally present. Defendant
24
     further agrees to be present in court ready for trial on any date set by the court in his absence.
25
             Defendant further acknowledges that he has been informed of his rights under the Speedy
26
     Trial Act (Title 18 U..C. Section 3161-3174), and he has authorized his undersigned attorney to
27
     set times for hearings and to agree to delays under the provisions of the Speedy Trial Act without
28
     him being personally present.

     Waiver of Defendant’s Appearance            Page 1 of 2                              U.S. v. McGowan
        Case 2:12-cr-00207-TLN Document 52 Filed 10/16/12 Page 2 of 2


 1   Date: October 9, 2012

 2

 3     /s/ Ulysses Simpson Grant Early, IV
     ULYSSES SIMPSON GRANT EARLY, IV.
 4   Defendant

 5
     Date: August 29, 2012
 6

 7
       /s/ Ralph D. Hughes
 8   RALPH D. HUGHES
     Attorney at Law
 9

10

11
                   ATTESTATION FOR COMPLIANCE WITH GENERAL ORDER 45
12
                                        AND LOCAL RULE VIII.B.
13

14
             I, Ralph D. Hughes, declare under penalty of perjury under the laws of California and the
15
     United States that I have in my possession e-mail correspondence from Ulysses Simpson Grant
16
     Early, IV, that the contents of this document is acceptable to all persons required to sign the
17
     document. I declare that this document was signed in Pleasanton, CA on August 29, 2012.
18

19
       /s/ Ralph D. Hughes
20   ____________________________________
     Ralph D. Hughes, Attorney for the Defendant
21

22

23   SO ORDERED.

24

25   Date: October 15, 2012

26

27

28


     Waiver of Defendant’s Appearance            Page 2 of 2                             U.S. v. McGowan
